                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

MARANDA LYNN ODONNELL, et al,                  §
          Plaintiffs,                          §
                                               §
v.                                             §           No. 4:16-cv-01414
                                               §
HARRIS COUNTY , TEXAS, et al.,                 §
           Defendants.                         §



            BRIEF OF AMICUS CURIAE PROFESSIONAL BONDSMEN OF
                   HARRIS COUNTY IN OPPOSITION TO THE
                       PROPOSED CONSENT DECREE


       COMES NOW, The Professional Bondsmen of Harris County, Amicus Curiae and files the

following brief in opposition to the Proposed Consent Decree filed by the parties and in support

thereof submits the following:




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                                 STATEMENT OF INTEREST

       As noted in the accompanying motion, the Professional Bondsmen of Harris County is a non-

profit professional organization of bail bondsmen and insurers. The members of the association are

bondsmen licensed by the Harris County Bail Bond Board. Amicus has a strong interest in this case

because its outcome will continue to have a large impact on the business practices of its members.

Amicus believes that the proposed Consent Decree as submitted to the court is over broad and seeks

to addresses areas that are not supported by the current pleadings and which was not authorized relief

in the underlying case. Amicus contacted counsel for plaintiffs and defendants. Neal Manne, on

behalf of plaintiffs, and Murray Fogler, on behalf of Harris County Sheriff Ed Gonzalez, has stated

their clients are not opposed to the relief sought by the motion. Amicus has attempted to contact

counsel for Harris County and the judges on multiple occasions without success. Therefore, Harris

County and the judges should be considered opposed.

                      NATURE AND STAGE OF THE PROCEEDINGS

       The Court has issued two preliminary injunctions in this matter. The first preliminary

injunction was reversed as overly broad by the Fifth Circuit. The second preliminary injunction was

partially stayed by the Fifth Circuit. Thereafter, there was an election and change in judges. The

newly elected judges dismissed the appeal to the Fifth Circuit relating to the second preliminary

injunction. Also, the plaintiffs filed a motion to vacate the opinion from the Fifth Circuit which

stayed portions of the second preliminary injunction. This motion was denied. The Fifth Circuit

held that the opinion issued on the motion for stay would remain in effect and would govern the trial

courts’ in the district. The parties have now submitted a proposed Consent Decree in an attempt to

settle the litigation regarding misdemeanor bonds.


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                                  STATEMENT OF THE ISSUES

        The questions addressed in this brief are whether the trial court may enter the proposed

Consent Decree in this matter, and whether the proposed Consent Decree is improper because it

seeks relief that was not plead or that the trial court is not authorized to enter. Amicus maintains that

the proposed Consent Decree will not resolve this litigation in any fair way; but instead, violates

Texas law in numerous respects and will cause further litigation in the future. There is already

litigation pending over the propriety of Amended Local Rule 9.1 under Cause No. 2019-11296;

Sharon McCleveland d/b/a Set ‘Em Free Bail Bond, et. al. v. Hon. Alex Salgado, et al., In the 234th

Judicial District Court of Harris County, Texas.

                                   SUMMARY OF ARGUMENT

        It is important to clarify at the outset what this lawsuit is and what it is not. What this lawsuit

involves is a class action lawsuit filed on behalf of indigent misdemeanor arrestees who challenge

Harris County’s bail practices. Plaintiffs allege that they are detained solely because they lack the

means to post secured money bail in violation of their equal protection and due process rights. This

Court, to the extent it determines that plaintiffs have meritorious claims, has fairly wide discretion

to remedy the constitutional violations of Harris County’s bail practices.

        What this litigation does not involve is a facial or as applied challenge to Texas law. Neither

this court not the Fifth Circuit Court of Appeals has ruled, or even hinted, that Articles I, sections

11-11c of the Texas Constitution, chapter 17 of the Texas Code of Criminal Procedure, or any other

Texas statute or common law regarding bail violations plaintiffs’ federal constitutional rights, nor

have plaintiffs requested such relief. To the extent that plaintiff wish to change Texas law, their

remedy lies with the Texas Legislature, not this court.


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        But that is exactly what the proposed consent decree would do. Should this court enter the

proposed consent decree, it would essentially rewrite chapters 17 and 22 of the Texas Code of

Criminal Procedure and Texas common law. In addition to circumventing the Texas Legislature,

the proposed Consent Decree runs afoul of the Fifth Circuit Court of Appeals, which has twice (three

times, if you count the order denying the motion to vacate) rejected injunction that, in its words,

“amount[ ] to the outright elimination of secured bail for misdemeanor arrestees.” With great power

comes great responsibility, and amicus humbly asks this Court to exercise its great power responsibly

and limit its relief to the issues before it.

                                                ARGUMENT

I.      This Court’s Power is Limited Under Rule 54(c) of the Federal Rules of Civil Procedure
        to Fashion a Remedy to Which The Parties Are Entitled

        Rule 54(c) of the Federal Rules of Civil Procedure states, in pertinent part, that a final

judgment”should grant the relief to which each party is entitled, even if the party has not demanded

that relief in its pleadings.” FED . R. CIV . P. 54 (c). The plaintiffs in this class action compromise

the following class:

        All Class A and Class B misdemeanor arrestees who are detained by Harris County from the
        date of this order through the final resolution of this case, for whom a secured financial
        condition of release has been set and who cannot pay the amount necessary for release on the
        secured money bail because of indigence.

[Doc. 303 at 1].

        Paragraph 10 of the proposed Consent Decree states as follows:

        This Consent Decree is tailored to remedy the systemic and longstanding
        constitutional violations found by the Court in this litigation; to safeguard arrestees’
        equal protection and due process rights, including the fundamental interest in pretrial
        liberty and the right against wealth-based detention; to promote court appearance and
        public safety; to require investments necessary for new systems to function efficiently
        in a large jurisdiction; and to promote transparency, rigorous analysis, and

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        accountability throughout the pretrial process so that constitutional practices will
        endure. It is crafted to protect against a reversion to the prelitigation system of mass,
        non-individualized pretrial detention of misdemeanor arrestees without lawful
        justification.

Proposed Consent Decree p. 11.

        Plaintiffs did not plead a claim for substantive due process regarding the constitutionality of

bail generally, nor did they seek to invalidate a state statute which would have invited participation

by the Texas Attorney General’s office. As discussed below, however, the consent decree is overly

broad as it requires Harris County to violate state law concerning bail and requires implementation

of measures that go far beyond protecting indigent misdemeanor arrestees from any alleged wealth-

based pre-trial detention.

II.     The Proposed Consent Decree Would Rewrite the Texas Code of Criminal
        Procedure

        A.      Texas Law Regarding Bail

        As this court correctly noted in its April 28, 2017 Memorandum [Doc. 302 at 51 - 52], TEX .

CODE CRIM . PRO . art. 17.15 sets the rules for fixing the amount of bail. It authorizes the court, judge,

magistrate, or officer taking the bail, exercising their individual discretion, to set bail by the

following rules:

        (1)     The bail shall be sufficiently high to give reasonable assurance that the
                undertaking will be complied with;

        (2)     The power to require bail is not to be so used as to make it an instrument of
                oppression;

        (3)      The nature of the offense and circumstances under which it was committed
                are to be considered;

        (4)     The ability to make bail is to be regarded, and proof may be taken upon this
                point; and


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        (5)     The future safety of a victim of the alleged offense and the community shall
                be considered.

Tex. Code Crim. Pro. art. 17.15. Article 17.25 requires the magistrate, “after a full examination of

the testimony,” to make an order that the accused execute a bail bond with sufficient surety,

conditioned on his appearance before the proper court, “if the case be one where bail may properly

be granted and ought to be required.” Case law has consistently stated that the decision regarding a

proper bail amount lies within the sound discretion of the trial court. See, e.g., Ex parte Brown, 959

S.W.2d 369, 372 (Tex. App.– Fort Worth 1989, no pet.). However, this discretion does not include

the power to set differential amounts (i.e., one amount for a PR bond and a different amount for a

surety bond) for bonds depending on whether the arrestee posts a cash bond or a surety bond. See

Professional Bondsmen of Texas v. Carey, 762 S.W.2d 691, 693 (Tex. App.– Amarillo 1988, pet.

denied); see also Texas Atty Gen. Opinion JM-363 (1985). Once an arrestee fails to appear for

court, the trial court has the discretion to require that any future bond be limited to a cash bond. TEX .

CODE CRIM . PRO . art. 23.05. If a county has a personal bond office, the bond office may gather

information about the accused and provide a report to the trial court recommending that the arrestee

be released on a PR bond. TEX . CODE CRIM . PRO . art. 17.43. Individuals released through a PR

bond office may be charged a fee in the amount of 3% of the bond or $20.00 whichever is higher.

Id.

        Chapter 14 of the Texas Code of Criminal Procedure authorizes arrest without a warrant in

certain circumstances. TEX . CODE CRIM . PRO . ch. 14. An arrestee detained without a warrant must

within 48 hours of arrest be taken before a magistrate for the magistrate to perform the duties set out

in article 15.17 of the Texas Code of Criminal Procedure. Id. at art. 14.06. Article 15.17 states the

magistrate shall allow the person arrested reasonable time and opportunity to consult counsel and

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shall, after determining whether the person is currently on bail for a separate criminal offense, admit

the person arrested to bail if allowed by law. Id. at 15.17. If the arrestee is charged with an offense

that involves a misdemeanor punishable by fine only, the magistrate may release the arrestee without

bond and order the accused to appear at a later date. Id. at (b).

        Further, Chapter 22 of the Texas Code of Criminal Procedure sets out the rules regarding

what the trial court must do if the arrestee fails to appear. Article 22.01 states that whenever the

defendant fails to appear, the trial court “shall” issue a judicial declaration as provided by article

22.02. TEX . CODE CRIM . PRO . art. 22.01. Article 22.02 states that the name of the defendant will

be called distinctly from the courthouse door and if the defendant does not appear within a

reasonable time, a judgment nisi (or conditional judgment) “shall” be entered. Id. at art. 22.02.

Articles 22.03-22.08 set out the rules regarding serving citation regarding the judgment nisi. Id. at

articles 22.03-22.08. The defenses to the bond forfeiture are set out in article 22.13 of the Texas

Code of Criminal Procedure. In Hartley v. State, 382 S.W.2d 483 (Tex. Crim. App. 1964), the Texas

Court of Criminal Appeals held that no other defenses other that those set out in article 22.13 would

exonerate a bond. Id. Claims for remittitur can be submitted based upon article 22.16 of the Texas

Code of Criminal Procedure (mandatory and discretionary remittitur before judgment). TEX . CODE

CRIM . PRO . art. 22.16.

        B.       The Proposed Consent Decree Violates Texas Law

        In the proposed Consent Decree an arrestee is not taken before a magistrate unless they fall

within seven categories of misdemeanors. The remaining 85% of misdemeanor arrestees do not see

a magistrate. Instead, they are released on a PR or General Order bond sent at $100.00.




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        The proposed Consent Decree violates Texas constitutional and statutory law in numerous

ways. First, section 30, which incorporates Amended Local Rule 9, requires that all misdemeanor

arrestees1 will be granted a personal bond (also called a “PR bond” or “personal recognizance bond”)

without an individual determination of the amount of the bond to be set. Tex. Code Crim. Pro. arts.

17.01, 17.02, 17.03, 17.04. 17.05 and 17.25 require a detainee be individually magistrated to

determine the amount of bail.

        Second, section 30 requires that all misdemeanor arrestees2 be released on a PR bond. This

violates Tex. Code Crim. Pro. Arts. 17.03 and 17.04, which allows release on a PR bond only if a

magistrate, in the exercise of his or her discretion, concludes that a personal bond is appropriate.

        Third, section 30 prefers PR bonds to other forms of bond, in violation of Articles 17.01,

17.02, 17.03, 17.04, and 17.15 and Texas common law, which require an individualized assessment

of the amount of the bond and prohibit differential amounts. See Professional Bondsmen of Tex. v.

Carey, 762 S.W.2d 691, 693 (Tex. App.—Amarillo 1988, no writ).

        Fourth, section 30 prohibits use of secured money bail as a condition of pretrial release at any

time in the pretrial period for any misdemeanor arrestee.3 TEX . OCC. CODE ANN .§1704.201 requires

the sheriff to accept or approve a bail bond executed by a license holder in the county in which the

license holder is licensed if (1) the bond is for a county or district case; (2) the bond is executed in

accordance with chapter 1704 of the Occupations Code and the local county bail bond board rules;


        1
         The only exclusions are (I) individuals who violate a protective order; (ii) certain
assaults; (iii) 2nd DWIs; (iv) individual’s arrested while on pretrial release; (v) failure to appear
while on pretrial release; and (vi) individuals arrested while on community supervision following
conviction of a Class B misdemeanor or greater.
        2
            Again, excluding only the detainees identified in footnote 1.
        3
            Again, excluding only the detainees identified in footnote 1.

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and (3) a bail bond is required as a condition of release of the defendant for whom the bond is

executed. Section 30/Amended Local Rule 9.1 violates Tex. Occ. Code Ann. §1704.201 because

it requires the sheriff to reject an otherwise valid bond. For example, if a warrant is issued for a

defendant’s arrest and he is apprehended in another county, that defendant is entitled, pursuant to

Article 15.17, to an individual hearing before a magistrate in the county of arrest (or, if more

expeditious, before a magistrate in any other county), who may require a cash or surety bond. Also,

section 30/Amended Local Rule 9.1 violates Tex. Occ. Code Ann. §1704.201 because it requires the

sheriff to reject an otherwise valid surety bond in favor of PR bonds and “General Order Bonds”, a

creature unknown under Texas law. The sheriff has a ministerial duty to accept bonds that comply

with Texas law. Section 30/Amended Local Rule 9.1 § 4 would prohibit the sheriff from accepting

otherwise valid surety bonds, in violation of Tex. Occ. Code Ann. §1704.201.

       Fifth, section 30 outlines the putative requirements for a bail hearing. It requires a factual

determination by clear and convincing evidence, in violation of Tex. Const. Art. I, Sections 11b

(violation of condition of release) and 11c (violation of protective order involving family violence).

It also violates Tex. Code Crim. Pro. Arts. 17.01, 17.02, 17.03, 17.04, 17.15, and 17.25, which

provide that the magistrate has discretion to determine the amount of the bail.

       Sixth, section 30 fails to consider funds available from the detainee’s family. See, e.g., Ex

parte Willman, 695 S.W.2d 752, 754 (Tex. App.—Houston [1st Dist.] 1985, no writ) (rejecting

excessive bond claim because defendant failed to establish that he had exhausted his funds and those

of his family).




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         Seventh, section 30 provides for a least restrictive means analysis, which violates Tex. Code

Crim. Pro. Arts. 17.01, 17.02, 17.03, 17.04, 17.15, and 17.25 and Texas common law which prohibit

differential bail amounts or the preference of one form of bond or another.

         Eighth, section 30 authorizes the sheriff to refuse to enforce any surety bonds that do not

comply with the proposed Consent Decree, even if those surety bonds were validly issued in another

county. Such action by the sheriff would be in violation of Tex. Occ. Code Ann. §1704.201.

Moreover, the proposed Consent Decree provides for a “General Order Bond” in a preapproved

form which has is arbitrarily set at $100.00 and does not contain an individualized determination

of the amount of bail required by Tex. Code Crim. Pro. Arts. 17.01, 17.02, 17.03, 17.04, 17.15, and

17.25.

         Further, the proposed Consent Decree attempts to change the law in Texas regarding the

requirements that a court must follow when the arrestee fails to appear for court. Chapter 22 of the

Texas Code of Criminal Procedure requires that any time there is a failure to appear, the trial court

is required to issue a judgment nisi. The resolution of the failure to appear is governed by any

defenses claimed in article 22.13 and any claim for remittitur set out in article 22.16 of the Texas

Code of Criminal Procedure. The proposed Consent Decree states that a bond cannot be forfeited

unless the arrestee was given actual notice of the hearing where he failed to appear. This is a change

to Texas law as well. In Texas, when a bond states that the defendant is required to appear

“instanter” then the arrestee is subject to call of the court at any time with or without any additional

requirement of notice. Caudillo v. State, 541 S.W.2d 617 (Tex. Crim. App. 1976). The proposed

Consent Decree sets out additional proof requirements before a bond may be forfeited that are not




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currently required by Texas law. The proposed Consent Decree violates Chapter 22 because it states

that a trial court attempts to change Texas law regarding forfeitures.

        The proposed Consent Decree seeks to turn the process of setting bail on its head. The task

of the trial court is to set bail. Thereafter, the defendant may decide whether to post a surety bond,

a cash bond or to seek a PR bond. The PR bond department is required after bail is set to review

candidates and make reports to the trial court on whether certain defendants should be granted a PR

bond and whether they will likely appear for court. The trial court may not restrict the type of bond

that may be filed except in a few circumstances. In the present case, the proposed Consent Decree

seeks to exclude the private surety bail bondsmen from posting any bonds for 85% of the

misdemeanor arrestees. This violates Texas law and also violates the directives give to this Court

by the Fifth Circuit’s opinions which held, in part, that the Court’s first and second preliminary

injunction were improperly attempting to put the private surety bond system out of business.

Bondsmen have a protected property interest under the Texas Constitution in their bail bond license.

See Smith v. Decker, 312 S.W.2d 632, 633 (Tex. 1958) (issuing injunction in favor of bail bondsmen

enjoining sheriff from enforcing unconstitutional statute infringing on their state constitutional right

to earn a living writing bail bonds); see also Font v. Carr, 867 W.W.2d 873, 875 (Tex. App.–

Houston [1st Dist.] 1993, no writ) (affirming that “[t]he right to earn a living by writing bail bonds

is a property right protected by the Texas Constitution” in affirming the denial of a prosecutor’s

motion for summary judgment on immunity grounds where prosecutor urged sheriff to deny bail

bondsmen’s bonds on ground other than the authorized by law).

III.    The Proposed Consent Decree Goes Far Beyond What is Necessary to Protect the
        Rights of Indigent Misdemeanor Defendants



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       The proposed Consent Decree seeks a great deal of relief to which the plaintiffs are not

entitled and which they did not plead and which has nothing whatsoever to do with securing the

release of indigent misdemeanor arrestee from pretrial detention with out having to post a surety

bond, including the following:

       •      Waiver of appearance- Pursuant to section 65, the judge may waive the defendant’s

              appearance at a subsequent hearing for any reason or no reason, in violation of TEX .

              CODE CRIM . PRO . art. 28.01 which states that a defendant’s presence is required

              during any pretrial proceeding;

       •      Unlimited delay- Section 65 also authorizes a defendant to reschedule court hearings

              without end, increasing the risk to the bondsman (for those who choose to post a

              surety bond) that the defendant ultimately fails to appear for trial;

       •      Unrestrained discretion to refuse arrest warrant for failure to appear- Section 67-68

              allows the court to refuse to issue an arrest warrant to a defendant who fails to

              appear, thus putting an increased financial burden on bondsmen for those few

              remaining misdemeanor cases which qualify for surety bonds;

       •      Open Hours Court- It is unclear whether the proposed consent decree requires that

              a new, open hours court be established or whether the existing criminal court at law

              judges will simply open their courtrooms to act as the open hours court. If the

              former, this would violate state law as only the legislature can create a court.

       •      Website, Email and Text Message Notifications- These may be desirable as a matter

              of public policy (and incidentally, insuring that the defendant receives notice of

              settings is exactly the sort of thing that the state has traditionally delegated to


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               bondsmen) but plaintiffs allege no claims relating to failures to appear, and it is not

               clear why this should be included in the proposed Consent Decree.

       •       Imposes Obligations to Office Holders Who are Not Proper Parties. The proposed

               Consent Decree seeks to compel certain actions on the part of the Sheriff even though

               the Fifth Circuit has held that he is not a proper party to this litigation.

                                          CONCLUSION

       The Fifth Circuit declined to find a substantive du process right and expressly declined to

eliminate secured bail for indigent misdemeanor arrestees, a decree in accordance with Walker v.

City of Calhoun, 901 F.3d 1245 (11th Cir. 2018), which expressly affirmed the constitutionality of

bail schedules coupled with a hearing within 48 hours. Since the plaintiffs plead a claim alleging

procedural due process violations because individuals claiming poverty did not have an opportunity

to seek a deviation from the bail schedule used by the county, the remedy is a hearing to give the

arrestees that opportunity. This is not the remedy that is set out in the proposed Consent Decree.

Instead, the parties seek to simply release 85 percent of all misdemeanor arrestees irrespective of

whether they are claiming poverty and irrespective of whether they are seeking a PR bond. They do

not see a magistrate or a judge to set bail. They are all given a PR bond in the amount of $100.00.

The bond amount is arbitrary and does not take into consideration any of the factors required to be

considered by the court. Further, the proposed Consent Decree takes all discretion away regarding

the release of these individuals. The policy states that they have to be released on a PR bond even

if they want to post a surety bond. Further, the proposed Consent Decree seeks to address

appearance rates, causes of appearance rates, studies for addressing appearance rates to improve

them and other matters to which the plaintiffs are not entitled to in this litigation. The proposed


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Consent Decree seeks to change the law in Harris County regarding missing court and setting

hearings, even though their pleadings did not address any alleged constitutional violations in these

areas. This court may remedy the constitutional violations it finds, but it should refrain from

changing Texas law, particularly when that relief has not been sought by the pleadings and is not

relief to which plaintiffs are entitled.


                                                        Respectfully submitted,


                                                             /s/ Kevin Pennell
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